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10   Civil Service Employees Insurance Company and
     CSE Safeguard Insurance Company
11
                                     UNITED STATES DISTRICT COURT
12
                                            DISTRICT OF NEVADA
13
       SCOTT LEHIGH,                                       Case No. S:24-cv-01252-JAD-BNW
                                                                    2
14
                            Plaintiff,                     STIPULATION AND ORDER TO
15                                                         DISMISS DEFENDANT CSE
       vs.                                                 SAFEGUARD INSURANCE
16                                                         COMPANY WITHOUT
       CIVIL SERVICE EMPLOYEES                             PREJUDICE
17     INSURANCE COMPANY dba CSE
       INSURANCE GROUP; CSE
18     SAFEGUARD INSURANCE                                        ECF Nos. 4, 13
       COMPANY; DOES 1 through 10, and
19     ROE CORPORATIONS 1 through 10,
       inclusive,
20
                            Defendants.
21

22           The parties, by and through undersigned counsel, and pursuant to Rule 41(a)(1)(ii), Fed.
23   R. Civ. P., request that the Court dismiss Defendant CSE Safeguard Insurance Company (“CSE
24   Safeguard”) from this lawsuit, without prejudice, based upon the express representations of
25   Defendant Civil Service Employees Insurance Company dba CSE Insurance Group’s (“CSE
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 1
     Insurance”) representation that it is the proper defendant entity, and not CSE Safeguard. If CSE
 2
     Safeguard is added back into this action, the amended pleadings shall relate back to the original
 3
     Complaint for statute of limitations purposes.
 4
            The parties further stipulate and request that the Court vacate as moot CSE Safeguard’s
 5
     pending Motion to Dismiss [Doc. 4], and request that the Court vacate the September 17, 2024
 6
     Motion Hearing [Doc. 11] only insofar as that Motion Hearing relates to CSE Safeguard’s
 7
     Motion to Dismiss.
 8
            RESPECTFULLY SUBMITTED this 23rd day of July, 2024.
 9

10                                                THE CAVANAGH LAW FIRM, P.A.

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16                                                      Employees Insurance Company and CSE
                                                        Safeguard
17

18                                                REMMEL LAW FIRM

19                                                By: s/ Jonathan T. Remmel
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21                                                    Attorneys for Plaintiff

22                                          ORDER

23           Based on the parties’ stipulation [ECF No. 13] and good cause appearing, IT IS ORDERED
     that the claims against CSE Safeguard Insurance Company are DISMISSED without prejudice,
24   CSE’s motion to dismiss [ECF No. 4] is DENIED as moot, and the portion of the September 17,
     2024, hearing dedicated to that motion is VACATED.
25                                                         _________________________________
                                                           U.S. District Judge Jennifer A. Dorsey
                                                      2 Dated: July 24, 2024
